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                               UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                  CORPUS CHRISTI DIVISION

 LA MIRAGE HOMEOWNERS                                 §
 ASSOCIATION INC.,                                    §
                                                      §
           Plaintiff,                                 §
                                                      §
     v.                                               §     CIVIL ACTION NO. _________
                                                      §
 WRIGHT NATIONAL FLOOD                                §
 INSURANCE COMPANY,                                   §
                                                      §
           Defendant.                                 §


                              PLAINTIFF’S ORIGINAL COMPLAINT

           Comes now Plaintiff, in all capacities in which it is entitled to appear and files this original

complaint against Wright National Flood Insurance Company, defendant, and in support thereof

respectfully shows as follows:

1.        Plaintiff is a Texas corporation domiciled in Nueces County, Texas. All events material to

this lawsuit occurred in Nueces County, Texas. Plaintiff sues in all capacities it is authorized to

appear, including but not limited to as named insured and payee on a policy of insurance and pursuant

to its rights and authority to sue in behalf of its owners pursuant to statute, contract, or condominium

documents and regime.

2.        Wright National Flood Insurance Company (hereinafter “Wright National”) is an insurance

corporation, association, company, or partnership that at all pertinent times herein has done

insurance business in this state, or else it is another entity that at all pertinent times herein has done

insurance business in this state. The insurance business done by it in Texas, whether through

agents or directly, includes, but is not limited to, the following:

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        (a)     The making and issuing of contracts of insurance with the Plaintiff;

        (b)     The taking or receiving of applications for insurance, including the Plaintiff’s
                application for insurance;

        (c)     The receiving or collection of premiums, commissions, membership fees,
                assessments, dues or other consideration for any insurance or any part thereof,
                including any such consideration or payments from the Plaintiff; and,

        (d)     The issuance or delivery of contracts of insurance to residents of this state or to persons
                authorized to do business in this state, including the Plaintiff.

        (e)     Adjusting and investigating, or pretending to adjust and investigate, claims made by
                policyholders such as the Plaintiff.

        The Defendant is an "individual, corporation, association, partnership, or other legal entity

engaged in the business of insurance," and as such constitutes a person as that term is defined in

the Texas Insurance Code, including Chapters 541 and 542, et. seq. of the Texas Insurance Code.

Wright National is also a “Write-Your-Own” (WYO) Program insurance carrier that participates in

the issuance of flood insurance under the National Flood Insurance Act (NFIA). This suit seeks damages

and policy benefits pursuant to a WYO flood insurance policy issued   under the NFIA by the Defendant

to the Plaintiff.

3.      Wright National Flood Insurance Company may be served by serving by certified mail,

return, receipt requested, its registered, legal, and/or contractually appointed agent/attorney for

service of process in Texas:

        CT Corporation System
        1999 Bryan St.
        Suite 900
        Dallas, TX 75201-3136

4.      Venue of this complaint is proper in Nueces County, Texas and in the Corpus Christi

Division of the Southern District of Texas, in that all or part of Plaintiff’s causes of action accrued

in such county and division, and the property which is the subject of this suit is located in such

county, district and division. This Honorable Court has federal question jurisdiction of the case

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under 28 U.S.C. 1331 and 42 U.S.C. 4000 – 4129 (NFIA). More than $75,000 is in controversy

between the parties and Plaintiff here invokes the unlimited monetary jurisdiction of this Court.

5.     Several months prior to Hurricane Harvey, Defendant issued a WYO insurance policy or

policies pursuant to the NFIA covering or purporting to cover Plaintiff’s property (La Mirage)

from certain forms of hurricane damage, including flood. The policy or policies in effect at the

time of these losses purported to insure the property against losses up to a limit substantially in

excess of Plaintiff’s claims herein. There are five buildings separately insured by such policy or

policies at the La Mirage complex. They are designated as Buildings A, B, C, D, and E.

6.     While the policy or policies were in effect, and on or about August 25, 2017, Hurricane

Harvey made landfall on Padre Island causing serious damages to many structures and properties.

Some of the structures and properties which suffered serious covered damage from the storm were

the La Mirage condominium complex on Padre Island. Flood damaged portions of the La Mirage

complex and associated property and structures. Defendant acknowledged that perils from

Hurricane Harvey covered under its policies caused 70% of the damage claimed by Plaintiff to

Buildings A, B, and D. Defendant made partial payment of such damages and also made payment

of some damage to Building C. Plaintiff is the named insured under the above policies and insures

the property in behalf of itself and its members, the owners of the building complex, who are also

insureds.

7.     Plaintiff claimed and still claims that Defendant underpaid the covered losses on Buildings

A, B, and D. Plaintiff timely filed proofs of loss documenting claims in the total amount of

$866,015.04 after applying a 70% flood causation factor to the overall damage in such areas;

whereas Defendant has only paid a total of $537,492.45, leaving a balance owed of $328,522.59.

Defendant, although presented with such claims by way of proof of loss less than a year after the



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storm and less than a year ago, denied such claims in writing and continues to refuse to pay any

further amounts on them. This constitutes a breach of the relevant policy contracts.

8.      Upon receiving such denials, Plaintiff demanded appraisal of the loss pursuant to the terms

of the policy, which provides that:

                If you and we fail to agree on the actual cash value or, if applicable, replacement

                cost of the damaged property so as to determine the amount of loss, then either may

                demand an appraisal of the loss. In this event, you and we will each choose a

                competent and impartial appraiser within 20 days after receiving a written request

                from the other. The two appraisers will choose an umpire. If they cannot agree upon

                an umpire within 15 days, you or we may request that the choice be made by a

                judge of a court of record in the State where the insured property is located. The

                appraisers will separately state the actual cash value, the replacement cost, and the

                amount of loss to each item. If the appraisers submit a written report of an

                agreement to us, the amount agreed upon will be the amount of loss. If they fail to

                agree, they will submit their differences to the umpire. A decision agreed to by any

                two will set the amount of actual cash value and loss, or if it applies, the replacement

                cost and loss.

On or about November 30, 2018 and again on May 1, 2019, Plaintiff requested such appraisal of

these losses in writing and notified Defendant of its choice of Mr. Rick Guerra-Prats as a competent

and impartial appraiser. Although requested to do so, Defendant has failed to choose an appraiser

and notify Plaintiff of his or her identity.

9.      Because of Defendant’s breaches of the policies, no umpire has been agreed upon of even

discussed and the amount due on the claim remains unpaid.



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10.     Despite the fact that all conditions precedent to Plaintiff’s recovery have been performed or

have occurred, Defendant has failed and refused to pay the Plaintiff a just amount in accordance with

contractual obligations. Defendant has, by its conduct, breached its contract of insurance with the

Plaintiff. All of the conditions precedent to bringing this suit under the policy and to Defendant’s

liability to the Plaintiff under the policy for the claims alleged have been performed or have occurred.

All notices and proofs of loss were timely and properly given in such manner as to fully comply with

the terms and conditions of the relevant insurance policies and applicable law.

11.     Plaintiff seeks all relief allowed by law, including judgment against defendant for benefits

owed, damages for breach of contract, and/or an order of the court requiring appointment of an

appraiser and/or umpire so the claim can be concluded and paid if the only dispute between the

parties is one that is the proper subject of appraisal.

12.     Defendant’s denial, delay, refusal and/or failure to pay constitute material breaches of contract

and were and are a result of negligence of various agents of Defendant, in which case, Plaintiff claims,

in the alternative, the right to a trial by jury on its claims and causes of action pursuant to 44 C.F.R.

pt. 62, app. A, art III (D). Defendant’s agent or agents knew or should have known that there was no

reasonable basis to fail to pay the entirety of such claims.

13.     As a result of all of such conduct, Plaintiff has been damaged in an amount in excess of the

minimum jurisdictional limits of this Court, and all the above alleged breaches of duty proximately

caused damages to the Plaintiff, direct, consequential, special, and otherwise, in an amount in

excess of the minimum jurisdictional limits of this Court. All notices required by law or contract

have been timely and properly given or else are excused, waived, moot, or made unnecessary by

the circumstances and/or Defendants’ conduct, including by way of waiver or estoppel. Plaintiff

here asserts all claims and causes of action assertable under state or federal law or the relevant



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insurance policy for all recoverable damages of any kind or character sustained by reason

Defendant’s conduct and/or Hurricane Harvey.

14.    Plaintiff would further show that as to any exclusions or limitations raised by Defendant to

the damages or policy benefits sought, Plaintiff pleads the doctrine of ambiguity requiring the policy

terms to be construed contra proferendum, and in the alternative Plaintiff also pleads the exceptions

to such exclusions or limitations that reinstate coverage for various losses or elements of loss,

including that such exclusions and limitations do not apply to windstorm loss or damage resulting

from such excluded perils. Therefore, such exclusions and limitations do not apply.

15.    Plaintiff would show that under relevant law, no Plaintiff can be charged with failure to

mitigate damage except to the extent such mitigation can be accomplished with trifling expense and

reasonable exertions, and in connection with any mitigation pleading, the Defendant must offer

evidence showing not just the plaintiff’s lack of care but also the amount by which the damages

were increased by such failure to mitigate.

16.    With respect to any matter of defense or avoidance raised by Defendant, Plaintiff pleads the

provisions of Rule 8(c) and Tex. Ins. Code § 554.002, as well as the provisions of Article 705 and

Section 862.054 of the Texas Insurance Code, Section 16.071, Tex. Civ. Prac. & Rem Code, and that

as to any such defenses, conditions, exclusions, excuses, or matters of avoidance, the Defendant

suffered no prejudice, they were not material, the Defendant waived them, is estopped from asserting

them, and/or the Plaintiff substantially complied with them or is excused from performing them. For

example, and by way of illustration only, the refusal to pay Plaintiff’s claims under the policy amounts

to a conclusive waiver of the performance by Plaintiff of any and all conditions, procedures, or

covenants in the policy, and a conclusive estoppel for Defendant to rely upon any of them in any way.

Moreover, as to the policy exclusions and as to any covenants or conditions, such as any replacement



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cost limitation or condition in the policy or time limit for recovery of any benefit, such as depreciation

holdback coverage, Plaintiff would show that Defendant has waived or is estopped to assert any

limitations contained in such provisions because of Defendant’s conduct in refusing to pay Plaintiff’s

claim, substantially breaching the contract and/or making such condition impossible or unreasonably

difficult to perform such that Plaintiff is excused from compliance. Plaintiff alleges the contract has

been breached and sues for all sums due at any time for this occurrence, including full replacement

cost and future liability and damages from such breach that are probable or reasonably clear. In the

alternative, Plaintiff would show that the WYO program and its administrator, FEMA, have

administratively determined that there will be no depreciation held back on these claims and that

prompt payment will be made on a replacement cost basis.

17.     In the alternative, Plaintiff would show that under Rule 8(b)(6), F.R.C.P., all allegations made

or to be made by the Defendant are considered denied or avoided by Plaintiff, as indicated above or

otherwise.

                                 JURY DEMAND AND PRAYER

          Pursuant to relevant law and the Rules of Civil Procedure, Plaintiff demands a jury trial and

has tendered to the Clerk of the Court the required jury fee.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff, LA MIRAGE HOMEOWNERS

ASSOCIATION, INC. prays that on final trial, Plaintiff have judgment or other court action

against Defendant in the following respects:

        A.      For recovery of the claim and benefits owed and unpaid by Defendant under the

                insurance policy or policies against those alleged liable under them or in connection

                with them, together with any other damages or fees appurtenant to and part of such

                causes of action;



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       B.      For damages against Defendant for breach of an insurance policy contract or

               contracts in the amount of policy benefits withheld, together with attorney’s fees

               and other damages, direct, special, or consequential, appurtenant to and part of such

               causes of action;

       C.      For appointment of an appraiser and/or umpire and/or court supervision of the

               appraisal process;

       D.      For attorney fees and costs of suit as and if allowed by law;

       E.      For prejudgment and post-judgment interest as allowed by law.

       In the alternative, Plaintiff prays, moves and respectfully requests this Honorable Court that

upon final hearing and trial hereof, this Honorable Court grant to the Plaintiff such relief that it may

be entitled to because of the facts and circumstances set forth above or in any amended pleading,

including damages or other relief either general or special, including judgment against all adverse

parties for costs of suit, for statutory penalties and prejudgment and post-judgment interest, as and if

allowed by law.

                                               Respectfully submitted,

                                               THE SNAPKA LAW FIRM
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